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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT
                                            SHERMAN DIVISIOI


 JLR GLOBAL, LLC, JENNA RYAN
 REALTY, LLC, JENNA RYAN REAL
 ESTATE. LLC, FIRST PLACE REAL
 ESTATE, SELFLOVEU, LLC, THE JENNA
 RYAN SHOW, DOTJENNA, and JENNIFER
 RYAN,
                                                             CIVIL ACTION NO.: 4:22-cv-559
        Plaintiffs,
                                                             JURY TRIAL DEMANDED



 PAYPAL INC.,

        Defendant.


                          "Motion for Reconsideration Based on New Evidence of the
               Prohibitive Costs to Arbitrate and Impossibility of Performance of the Order"


        Plaintiffs respectfully ask the Court to reconsider the previously entered Order to Arbitrate on March

15, 2023. Notwithstanding Plaintiffs diligent efforts, the Court s Order creates an impossibility of performance

due to the prohibitive costs to arbitrate, and constitutes the denial of due process of law. Plaintiffs have

discovered New Evidence that proves that the ordered arbitration is cost prohibitive as opposed to accessing the

court; and that the costs to arbitrate are so high that Plaintiffs are prevented from exercising their statutory right

to vindicate their claims. It is impossible for Plaintiffs to access arbitration, and therefore the order denies

Plaintiffs’ their constitutional right to access “Open Courts and Remedy by Due Course of Law, The Texas

Constitution, Article 1, Section 13. (Feb. 15, 1876.)

       This case involves serious misconduct by Defendant against Pl intiffs, who are consumers and who

were clients of the Defendant and who trusted the Defendant with their private financial information. The

agreement between the Defendant and the Plaintiffs was breached by the Defendant in an unprecedented

way-directly to the mainstream media in an illegal press release about Plaintiffs without due process. Defendant

canceled Plaintiffs’ account blatantly, disparagingly and publicly irrespective of its agreement with Plaintiffs or

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its own privacy policies. State and federal laws were broken, the contract was breached, Defendant violated its

own policies and made false accusations against Plaintiffs-these accusations were repeated among the

mainstream media and Plaintiffs were attacked publicly and viciously without recourse and Defendants actions

sparked widespread cancellations of Plaintiffs accounts to occur, and that caused Plaintiffs to have to go into

hiding and and caused extreme emotional and financial damages to Plaintiffs. This is a public policy concern.

        Defendant inflicted massive injury on Plaintiffs personally and professionally. The claims in this case

are unprecedented and the costs to arbitrate these claims are equally extreme due to the nature of the misconduct

and damages.


        No one could have imagined when Plaintif s signed up to use Defendant for small financial transactions

that the Defendant would violate its privacy policies, breach the user agreement and share private financial

information of Plaintiff with the worldwide media; and that the personal, private information would go viral

around the world and cause mobs of people to attack Plaintiff calling her a grifter, con and a fraud. This is not a

matter of dispute, this is public information and visible online to this day.

        Plaintiffs did not believe when they signed up to use Defendant s services that they would be bound to

an eternal arbitration agreement-no matter what harm was inflicted upon them-and that the cost to do so would

start at $350,000. That would have been impossible for Plaintiffs to do-(like agreeing to take a rocket ship to

the moon). How can the Plaintiffs contract to do the impossible?

       Plaintiffs have discovered through rigorous pursuit of the arbitration process since the arbitration was

ordered, that arbitration is out-of-reach due to the extremely high cost to arbitrate. The upfront fees required to

be paid by Plaintiffs for the arbitration of these extreme claims nd unprecedented misconduct is astronomical.

Due to the facts of this case, the cost to arbitrate is extraordinarily high and the Court must recognize the

impossibility of the Plaintiffs to perform as ordered, and respect the Plaintiffs right to be heard in court where

there are no arbitration fees, and in court where the attorneys fees are contingent upon success of the action.

Plaintiffs should not be barred from vindicating their claims based on their socio-economic status.

       Due to the inability of Plaintiffs to pay the costs of arbitration, the arbitration agreement is void,

unconscionable and unenforceable.
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     (1) The Cost to Arbitrate this Case is Cost Prohibitive for Plaintiffs

          Since Defendant s Motion to Arbitrate was granted, Plaintiffs have discovered that the costs to arbitrate

 are too high for the Plaintiffs to pay, especially in light of the disparity of resources between the parties, and the

 complexity of the claims. This New Evidence about the steep costs associated with Plaintiffs case was unknown

 to Plaintiffs prior to being ordered into arbitration, and was discovered only after the arbitration was ordered.

 This New Evidence was also unknown by Plaintiffs when they entered into the Contract of Adhesion with

 Defendant almost 20 years ago by clicking the Accept button on Defendant’s website. This new evidence

 proves that Plaintiffs are barred from due process due to the high costs associated with: (I) Attorneys Fees, and

 (II) Arbitration Fees.

         I. Attorneys Fees

         While this case was in federal court, as requested by Defendant, Plaintiffs had competent legal counsel

on a contingency basis and did not pay for legal fees up-front; Plaintiffs were only liable for attorney's fees

upon the successful conclusion of the jury trial. However, once the case was ordered to arbitration, Plaintiffs

lost their legal counsel. The Plaintiffs’ attorney could not arbitrate on a contingency-fee basis because the costs

to arbitrate are much higher than the costs to litigate in court. Plaintiffs did not have the resources to pay

up-front and ongoing retainer fees to effectively arbitrate this complex c se.

         Plaintiffs made every effort to secure legal representation for the ordered arbitration on a contingency

basis, but were unsuccessful. Plaintiffs attempted diligently and extensively to find a fee-based attorney to assist

in the arbitration, but the required costs of the attorney fees surpassed Plaintiffs’ yearly income. Plaintiffs are

now forced to represent themselves because no attorney will take their case on a contingency basis.

        Plaintiffs are able to secure legal representation on a contingency basis if Plaintiffs are allowed to stay in

court, but not if Plaintiffs are required to arbitrate. Plaintiffs cannot vindicate their claims if forced into

arbitration. Consider the following New Evidence:

             A. Plaintiffs’ attorney, Ron Bums, withdrew from this case once the case was ordered to arbitration,

                 and the reason for the withdrawal was Plaintiffs’ inability of Plaintiffs to pay arbitration costs



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               and attorneys fees. (Exhibit A - Letter from Plaintiffs' former Attorney, Ron Burns, giving

               arbitration fees as reason for termination of representation

           B. Plaintiffs Representative contacted 30+ attorneys, and spent over 100 hours of time diligently

               seeking representation for the ordered arbitration, but no attorneys were willing to handle the

               arbitration of this complex case on a contingency basis. A list of all the attorneys contacted can

               be provided.

           C. Only two attorneys agreed to take Plaintiffs’ case to arbitration on a retainer-fee basis, and the

               estimated fees required by each was $250,000 to $350,000, respectively, which is beyond

               Plaintiffs ability to afford in this lifetime. (Exhibit B - Copies of Correspondence fro two

               attorneys who agreed to take the case and their estimate of the fees required up fronf)

           D. Plaintiffs’ applied for financing for the arbitration, but two such financing companies rejected

               Plaintiffs’ application. (Exhibit C - D nial letters for litigation financing').

           E. Plaintiffs sought representation from Pro Bono and free legal assistance and political

               organizations, but were denied representation. (Exhibit D - Correspondence with v rious

               organizations declini g representation

           E Plaintiffs have reached out to lawmakers, Senators and the Texas Attorney General, as well as

               the Consumer Financial Protection Board. Plaintiffs have exhausted all resources in their quest to

               retain adequate counsel. (Exhibit E - Complaint wit Texas AG and CFPB and Defe dant

               Response)

           G. Defendant has declined to p y for Plaintiffs’ attorneys fees. (Exhibit F - Letter from Defendant

               attorney declining Plaintiffs request for Defendant to pay attorneys fees)

           H. Plaintiffs have secured legal representation on a contingency fee basis if and only if Plaintiffs are

               allowed to stay in court for a trial-by-jury. (Exhibit G - Representation Agreement with Attorney

               on conti ge cy basis for this action if it is litigated in court

       Plaintiffs do not have legal representation for the ordered arbitration, and lack the experience, education,

knowledge, expertise and resources necessary to exercise their rights to pursue their claims. Pl intiffs cannot
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successfully represent themselves in arbitration without legal counsel. Legal counsel is inaccessible in the

arbitration format, but accessible if Plaintiffs are allowed due process in court. If required to arbitrate, Plaintiff

will be forced to drop their claims against Defendant due to their inability to retain legal counsel for arbitration

on a contingency basis, and due to the high cost of arbitration fees.




         If Plaintiffs drop their claims due to the high cost of arbitration, then the Defendant will never be held

accountable for their actions and Defendant will be emboldened to harm more consumers in the future in the

same way they harmed the Plaintiffs. Barring Plaintiffs from vindicating their claims against Defendants due to

lack of financial capability will send a message to all financial institutions in the United States that it is okay to

share the private financial information of consumers with the mainstream media; and it will show that there are

no consequences for harming consumers.


         II. Arbitration Fees

        Plaintiffs assert that they are unable to afford Defendant s Arbitration Fees, and that such fees are

required and not speculative. Tillman adv. RheingoldFirm, No. 13-56624, 2016 BL 190432 (9th Cir. June 15,

2016)

             A. Plaintiff filed an arbitration claim with Defendant s arbitration company, AAA, and were able to

                 obtain a financial hardship waiver of fees by the Arbitration Company, (Exhibit H - Claim a d

                 Waiver of some Arbitration Fees with the exception of a filing fee).

             B. Plaintiffs surmise that it is pointless to pay the initial arbitration fees-albeit reduced-if Plaintiffs

                 are unable to afford to cost to retain legal counsel. (E hibit I - Declaratio f om Plai tiffs

                 Represe tative, Jennifer Rya regarding f nancial inability to pay)

             C. Defendant’s Arbitration Company waived a portion of the initial fees required to start the

                 arbitration, however, Plaintiffs were told by the Arbitration Company that Plaintiffs would be

                 responsible for more fees throughout the arbitration process; these are more fees that the

                 Plaintiffs simply cannot afford to pay and that would not be required if Plaintiffs are allowed fair


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                access to the public court system. (Exhibit H - Correspondence & Waiver from Arbitration

                Co pany)

        Due to the steep costs of arbitrating a case of this complexity and magnitude, Plaintiffs are unable to

pursue their claims against Defendant as ordered by this court. The financial disparity between Plaintiffs and

Defendant, the severity of the claims, and the complexity of damages in this case require high arbitration costs

that the Plaintiffs cannot afford. Arbitration of the claims of this case is impossible for Plaintiffs.

        (2) Defendant s rbitration Agreement is Unconscionable and Unenforceable

        Given this new found evidence, it is certain that Defendant s Arbitration Agreement is unenforceable as

it fails to provide the minimum guarantees that Plaintiffs can vindicate their statutory rights in a court of law.

Plaintiffs are unable to pursue their claims in arbitration according to the Arbitration Agreement, and therefore,

must rely on the court to obtain due process under the law.

       The US Supreme Court established in the case of Green Tree Financial Corp,-Alabama and Green Tree

Financial Corporation. Petitioners v, Larketta Randolph, that the existence of large arbitration costs could

preclude a litigant from effectively vindicating their federal statutory rights in the arbitral forum, but held that

the party seeking to avoid arbitration bears the burden of establishing that Congress intended to preclude

arbitration of the statutory claims at issue. The Plaintiffs, in this Motion to Reconsider, provide concrete

evidence that arbitration is cost prohibitive and precludes Plaintiffs from vindicating their claims in arbitration.

Insomuch as Plaintiffs are unable to afford the high costs of arbitration against Defendants, and are unable to

pursue their claims, Defendant’s Arbitration Agreement is unenforceable.

       Tillman adv. RheingoldFirm, No. 13-56624, 2016 BL 190432 (9th Cir. June 15, 2016) - Plaintiff Who

Could Not Afford to Pay for Arbitration Was Allowed to Pursue Her Malpractice Action in Court.

       The Texas Supreme Court ruled on the matter of high arbitration costs preventing a party to pursue their

claims in Houston ANUSA, LLC d/bH AutoNation USA Houston v. Walter Shattenkirk, 2023,


                          The issue ... is whether an arbitration agreement is unconscionable,
                 and thus unenforceable, on the ground that the costs associated with
                 arbitration are so excessive they would foreclose the employee from pursuing
                 his claims. The court of appeals held that the agreement is unconscionable

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                    and affirmed the trial court's order denying the employer's motion to compel
                    arbitration. Because the burden is on the p rty resisting arbitration to prove
                    unconscionability, and because the evidence does not rise above the
                    speculative risk that the employee will actually incur prohibitive costs, we
                    reverse the court of appeals judgment.



         The claimant in the AutoNation case did not prove through evidence that they would incur prohibitive

costs, but the court held that:


                           [T]he theory behind unconscionability in contract law is that courts
                   should not enforce a transaction so one-sided, with so gross a disparity in the
                   values exchanged, that no r tion l contracting party would h ve entered the
                   contract. In re Olshan Found. Repair Co., 328 S.W.3d 883, 892 (Tex. 2010)
                   (citing Restatement (Second) of Contracts § 208 cmt. b (Am. L. Inst. 1981)). In
                   limited circumstances, the cost of arbitration can render an agreement to arbitrate
                   unconscionable. See Poly-Am., 262 S.W.3d at 356 (holding that arbitration
                   provisions in an employment agreement “that operate to prohibit an employee
                   from fully and ef ectively vindicating statutory rights are not enforceable”).



        AutoNation goes onto state:


                            A party opposing arbitration on the ground that the prohibitive cost of
                   arbitrating renders the agreement to do so unconscionable has the burden of proof.
                   Olshan, 328 S.W.3d at 893 (citing Green Tree Fin. Corp.-Ala. v. Randolph, 531
                   U.S. 79, 90, 121 S.Ct. 513, 148 L.Ed.2d 373 (2000)). To meet that burden, the
                   party must present some evidence” that it will likely incur arbitration costs in
                   such an amount as to deter enforcement of statutory rights in the arbitral forum.”
                   Id. (quoting Poly-Am., 262 S.W.3d at 356) (emphasis omitted). Pertinent factors
                   include whether the total cost of arbitration is comparable to the total cost of
                   litigation and “the claimant's overall ability to pay the arbitration fees and costs.”
                   Id. at 894-95.- Further, making the required showing entails presenting more than
                   evidence of the “risk of incurring excessive costs; it requires “specific evidence
                   that a party will actually be charged excessive arbitration fees.” In re U.S. Home
                   Corp., 236 S.W.3d 761, 764 (Tex. 2007) (citing Green Tree, 531 U.S. at 90-91,
                    121 S.Ct. 513); see also Olshan, 328 S.W.3d at 895 (“While we do not mandate
                   that claimants actually incur the cost of arbitration before they can show its
                   excessiveness, parties must at least provide evidence of the likely cost of their
                   particular arbitration, through invoices, expert testimony, reliable cost estimates, or
                   other comparable evidence.”).




        Factors for this analysis under Texas contract law are: (1) the total costs of litigation compared to the

total cost of arbitration; (2) whether that disparity is so great as to deter the bringing of claims (3) the actual cost


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of arbitration compared to the total amount of damages the claimant is seeking; and (4) the claimant's overall

ability to pay the arbitration fees and costs. Evidence supported finding that the agreement was unconscionable.



         In this case, Plaintiffs have shown new evidence that proves (1) that the total costs of litigation are

affordable to the Plaintiffs, (2) whereas the cost to arbitrate is out-of-reach for Plaintiffs. (3) the cost to arbitrate

is excessive due to the outrageous actions taken against Plaintif and subsequent damages as well as the

disparity of resources between the parties; (4) Plaintif s are unable to access arbitration due to their inability to

pay the arbitration fees and costs associated with arbitration.

         (3) Defendant s Arbitration Agreement is Void

         Defendant s Arbitration should be rendered Void based on the Impossibility of Performance Doctrine.

Plaintiffs have exhausted their resources in the pursuit of the arbitration of their claims, but Defendant’s

Arbitration Agreement requires Plaintif s do the impossible. [Transatlantic Financing Corp. v. United States,

363 F.2d312(D.C. Cir. 1966)]

         According to the Impossibility of Performance Doctrine :

             1. A contin ency must have occurred - Plaintiffs did not know that the Plaintiffs would one day

                 have claims against Defendant that would be impossible to claim due to the extremely high cost

                 of Arbitration.

             2. The risk of the unexpected occurrence must not have been due to the ne li ence of either party -

                 It is not the Plaintiffs or the Defendant’s fault that the damages in this case were so high and

                 extreme that it caused the cost of arbitration to be so high.

             3. The circumstance must have rendered performance under the contract commercially

                 impracticable. Plaintiff is unable to af ord to arbitrate a case of this magnitude, therefore,

                 Defendant’s Arbitration Agreement is commercially impracticable.



        It is impossible for Plaintif s to arbitrate this matter, while it is possible for Plainti s to vindicate their

claims in court.



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         (4.) Defendant s Arbitration Agreement is Unconscionable



         According to Defendant s User Agreement, Arbitration is presented as beneficial to both parties,

 however, in this cause of action, Plaintiffs are barred from accessing the arbitration process due to the

magnitude of the claims and Plaintiffs lack of resources. Defendant’s User Agreement offers grossly oppressive

and unfair terms that are impossible for the Plaintiffs to fulfill.




                   PayPal User Agreement

                  Arbitration is more informal th a lawsuit i co rt. Arbitration uses a
                    eutral arbitrator or arbitrators instead of a judge or jury, and court review
                  of an arbitration award is very limited. However, the arbitrator can ward the
                  sa e damages and relief on an individual basis that a co rt can award to a
                  i dividual.




         Defendant’s Arbitration Agreement concedes to the possibility of arbitration being cost prohibitive

compared to the cost of accessing the court for purposes of pursuing litigation. Defendant’s Arbitration

Agreement offers to pay arbitration fees if granted by the arbitrator, but does not address the high cost of

attorneys fees and other costs required to arbitrate complex claims. The language in the Arbitration Agreement

is misleading. There are more costs required for the Plaintiffin arbitration, and potentially substantially less

costs for the Defendant. The User Agreement is one-sided and oppressive.

        Plaintiffs would not have agreed to give up their right to pursue claims in court had Plaintiffs been aware

that the claims against Defendant would require upwards of $350,000 to obtain due process. Plaintiffs did not

have a choice to negotiate terms for this agreement, and therefore this is an agreement of adhesion, and the




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terms of the Arbitration are impossible for the Plaintiffs to fulfill, therefore the agreement must be found to be

unconscionable, unenforceable and void.




                  Costs of Arbitration Section of the Arbitration Agreement

                           If the value of the relief sought is more than $10,000 and you are
                           able to demonstrate that the costs of accessing arbitration will
                           be prohibitive as co pared to the costs of accessi g a court for
                          purposes of pursuing litigatio on an individual basis, PayPal
                           will pay as much of the AAA or arbitrator fees as the arbitrator
                           dee s necessary to preve t the cost of accessing the arbitration
                          fro bei g prohibitive.




        Defendant s Arbitration Agreement makes no provision for exorbitant Attorneys Fees required for

arbitration of major claims against Defendant, giving the Plaintiffs (and consumers) a false-sense-of-security

when the original agreement to arbitrate was initiated. The lack of provision for arbitration fees as well as

attorneys fees renders the arbitration of major claims against Defendant impossible for the average consumer,

and therefore unconscionable, as it fails to protect the interest of both parties.

        Thompson v. Glob. Fixture Services, Inc., No. CV H-22-0484, 2022 WL 3693453 (S.D. Tex. Aug. 25,

2022) (FSLA). An arbitration agreement may render a contract unconscionable if the existence of large

arbitration costs could preclude a litigant from effectively vindicating his or her federal statutory rights in the

arbitral forum.



        (5) Conclusio


        In conclusion, based on this New Evidence, it is obvious that Plaintiffs cannot exercise their statutory

right to pursue their claims in arbitration due to the steep costs of the arbitration process. The costs to arbitrate

this case are extremely high due to the magnitude of the claims, the disparity of resources among the parties and

the damages caused by Defendant. Plaintiff is unable to pay for arbitration not only because the Defendant

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 caused Plaintiffs financial damages, but also because the costs for the arbitration of their claims is extremely

 high and out-o -reach for Plaintiffs to pay. Plaintiffs have discovered that they are able to secure legal counsel

 on a contingency basis if they are allowed to stay in court, but that they would be required to pay a $350,000

 retainer if they are forced into arbitration, an amount which is out of Plaintiffs ability to pay. Plaintiffs cannot

 afford to pay the arbitration fees or the attorneys fees required to arbitrate their claims, and it is therefore

impossible for Plaintiffs to continue arbitration. Plaintiffs need access to the courts to exercise their statutory

rights to vindicate their claims through due process of law.

         Ordering Plaintiffs to arbitrate their claims in this cause is the same as deciding the case without hearing

the merits and dismissing the case before it is resolved as Plaintiffs now realize that they cannot afford

arbitration. The Order to Arbitrate strips Plaintiffs of their basic right to be heard and obtain justice.

         If Plaintiffs are unable to pursue their claims against Defendant, consumers at large are at risk of having

their privacy violated in the future.

         Plaintiffs have the right to pursue their claims in this court with an attorney who is willing to handle this

case on a contingency basis if the right to due process is honored.

         For the reasons set forth herein, and the new evidence obtained, Plaintiffs respectfully submit that the

Order gr nting Defendant s Motion to Arbitrate be reconsidered and



         DENIED in its entirety.



                                                                        November 3, 2023



                                                                        Respectfully Submitted,




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                                                     CERTIFICATE OF SERVICE

                 The undersigned certifies that the foregoing document was filed in person on November 6th,

         2023, electronically in compliance with Local Rule CV-5. As such, the foregoing was served on all

         counsel of record who have consented to electronic service. Local Rule CV-5. Pursuant to Fed. R. Civ. P.


         5 and Local Rule CV-5, all others not deemed to have consented to electronic service will be served with

         a true and correct copy of the foregoing by email, on this the 6th day of November, 2023.




         /s/ Jennifer L. Ryan




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